Case 2:21-cv-06320-MCS-JC Document 27-1 Filed 09/15/21 Page1iof1 Page ID#:141

Name and address:

George J. Terwilliger, II
McGuireWoods LLP

888 16th Street N.W., Suite 500
Washington, DC 20006

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Mosafer Inc., et al.,
Plaintiff(s)
Broidy, et al.,

Defendant(s).

CASE NUMBER
2:21-cv-06320-MCS-JC

 

(PROPOSED) ORDER ON APPLICATION
OF NON-RESIDENT ATTORNEY TO APPEAR
IN A SPECIFIC CASE PRO HAC VICE

 

 

The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by

Terwilliger, II1, George J.

 

Applicant’s Name (Last Name, First Name e Middle Initial)
202-857-2473 202-828-2965

 

Telephone Number Fax Number
gterwilliger@mcguirewoods.com

 

E-Mail Address

 

of [McGuireWoods LLP

888 16th Street N.W., Suite 500
Washington, DC 20006

 

 

 

Firm/Agency Name & Address

for permission to appear and participate in this case on behalf of

Elliott Broidy

 

Broidy Capital Management, LLC

 

 

Name(s) of Party(ies) Represented

and designating as Local Counsel

Lally, Kevin M.

Designee’s Name (Last Name, First Name & Middle Initial)
226402 213-457-9862 213-457-9882

 

 

Designee’s Cal. Bar No. Telephone Number Fax Number
Klally@mcguirewoods.com

 

E-Mail Address

HEREBY ORDERS THAT the Application be:
[-] GRANTED.
[_| DENIED: [_] for failure to pay the required fee.

[_] Plaintiff(s) [x] Defendant(s) [| Other:

 

McGuireWoods LLP

Wells Fargo Center, South Tower
355 S. Grand Ave., Suite 4200
Los Angeles, CA 90071

of

 

 

 

Firm/Agency Name & Address

[_] for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.

|_| for failure to complete Application:

 

[] pursuant to L.R. 83-2.1.3.2: ["] Applicant resides in California; [—] previous Applications listed indicate Applicant
is regularly employed or engaged in business, professional, or other similar activities in California.
[7] pursuant to L.R. 83-2.1.3.4; Local Counsel: [7] is not member of Bar of this Court; [] does not maintain office in District.

[| because

 

IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: [1 be refunded [1 not be refunded.

Dated

 

 

U.S. District Judge/U.S. Magistrate Judge

 

G-64 ORDER (5/16)

(PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE

Page 1 of 1

 
